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Attorneys for Plaintiffs (
IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

 

No. C-94-2307-CW
JOHN ARMSTRONG, et al.,

Plaintiffs, Second Amended Complaint
Class Action
MP

GRAY DAVIS, et al.,

Defendants.

 

 

A. NATURE OF ACTION
dis This is a civil rights action, brought on behalf of

state prisoners and parolees with certain disabilities, for

 
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declaratory and injunctive relief. State officials and the
California Board of Prison Terms (BPT) discriminate against
plaintiffs and the class they represent by reason of their
disability. Defendants have constructed, renovated, purchased or
leased facilities, including approximately twenty prisons, that
are not accessible to prisoners or parolees with mobility
impairments. Defendants do not have adequate policies or
practices that enable them to identify, assess or reasonably
accommodate individuals with disabilities so that these
individuals can participate in the programs and activities that
they are otherwise qualified for. Defendants have failed to
provide class members with visual, hearing and other impairments
with auxiliary aids and services to ensure effective
communication so that they can participate in programs and
activities, including emergency warnings. Defendants BPT and
Nielsen have failed to provide class members with adequate
assistance at parole hearings so that they have adequate notice
of the proceedings and the issues therein and can effectively
participate in the hearings.

2. Plaintiffs and the class they represent bring this
action under 42 U.S.C. sections 1983, 12101 et seq. and 29 U.S.C.
section 794 and the Due Process Clause of the Fourteenth
Amendment against California officials who have responsibility
for, and complete control over, the programs and activities
provided to plaintiffs, and who have responsibility for, and
complete control over, the construction of prison facilities
since 1968. Defendants have repeatedly and persistently denied

the plaintiff class equal and sufficient access to programs and

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activities run by defendants thereby subjecting them to unlawful
discrimination and a denial of due process. Defendants have been
and are engaging in a policy and practice of violating federal
requirements in the design and construction of its new, renovated
and/or remodeled facilities in California. Defendants’ conduct
constitutes an ongoing and continuous violation of federal law,
and unless restrained from doing so, defendants will continue to
violate federal law. Therefore, plaintiffs seek declaratory and
injunctive relief to remedy the illegal conditions and practices

to which they and the class of others similarly situated are

subjected.
B. PARTIES
(1) Blaintiffs
3. Plaintiffs and the class they represent are

individuals, under the custody and control of the California
Department of Corrections, who have mobility, sight, hearing,
learning and kidney and developmental impairments, that
substantially limit one or more of their major life activities.
They have been denied access to the programs, services and
activities run by defendants and have been confined in or use
facilities operated by and under the control of the California
Department of Corrections. All plaintiffs are "individuals with
disabilities" as that term is defined in Section 504 of the
Rehabilitation Act of 1973 [hereinafter referred to as "Section
504"], 29 U.S.C. section 706(8), and the Americans With
Disabilities Act [hereinafter referred to as the "ADA"], 42

U.S.C. section 12102(2).

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4, Plaintiff John Armstrong, E-46263, is currently housed
at California Medical Facility at Vacaville. Mr. Armstrong has a
visual impairment.

5 Plaintiff Judy Fendt, W-25026, is currently housed at
Central California Women’s Facility. Ms. Fendt uses a wheelchair
and/or a leg prosthesis because her right leg has been amputated.

6. Plaintiff Walter Fratus, H-41663, is currently housed
at High Desert State Prison. Mr. Fratus uses a wheelchair
because his legs are paralyzed. Mr. Fratus also has partial
paralysis of his arms.

7. Plaintiff Gregory Sandoval, D-86282, was housed at
California State Prison at Solano and is currently on parole.

Mr. Sandoval has a hearing impairment.

8. Plaintiff Peter Richardson, B-77974, was housed at
California State Prison at Solano. Mr. Richardson had a learning
disability that defendants BPT and Nielsen did not reasonably
accommodate, inter alia, during his parole suitability hearings.

9. ° Plaintiff David Rose, J-10638, is currently housed at
Deuel Vocational Institution. Mr. Rose has a hearing impairment.
Defendants BPT and Nielsen failed to provide reasonable
modifications for his disability and equally effective
communication during the parole revocation process.

10.” Plaintiff David Blessing, H-45928, is currently housed
at the Wasco State Prison Reception Center. Mr. Blessing is
hearing impaired. Defendants BPT and Nielsen failed to provide
reasonable modifications for his disability and equally effective

communication during the parole revocation process.

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io” Plaintiff Elio Castro, D-36836, is currently housed at
Avenal State Prison. Mr. Castro is hearing impaired. Defendants
BPT and Nielsen failed to provide reasonable modifications for
his disability and equally effective communication at his parole
suitability and other lifer hearings.

12.“ Plaintiff Elmer Umbenhower, D-45928, is currently
housed at Deuel Vocational Institution. Mr. Umbenhower is
mobility impaired. Defendants BPT and Nielsen failed to provide
reasonable modifications for his disability during the parole
revocation process.

13.° Plaintiff Raymond Hayes, C-82229, is currently housed
at Salinas Valley State Prison. Mr. Hayes is mobility impaired.
Defendants BPT and Nielsen failed to provide reasonable
modifications for his disability at his parole suitability and
other lifer hearings.

14.“ Plaintiff Gene Horrocks, C-08859, is currently housed
at Avenal State Prison. Mr. Horrocks is mobility impaired.
Defendants BPT and Nielsen failed to provide reasonable
modifications for his disability at his parole suitability and
other lifer hearings.

15./ Plaintiff Kiah Mincey, C-74063, is currently on parole.

Mr. Mincey is vision impaired. Defendants BPT and Nielsen
failed to provide reasonable modifications for his disability
during the parole revocation process.

16.7 Plaintiff Clifton Feathers, C-63845, is currently
housed at the California Institution for Men. Mr. Feathers is

vision impaired. Defendants BPT and Nielsen failed to provide

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reasonable modifications for his disability at his parole
suitability hearings and other lifer hearings.

17.“ Plaintiff Willie Johnson, E-81930, is currently housed
at Avenal State Prison. Mr. Johnson is vision impaired.
Defendants BPT and Nielsen failed to provide reasonable
modifications for his disability at his parole documentation
hearings.

18.° Plaintiff David Badillo, H-49189, is currently housed
at Wasco State Prison. Plaintiff is developmentally disabled.
Defendants BPT and Nielsen failed to provide reasonable
modifications for his disability at parole revocation
proceedings.

19. “Plaintiff James Simmons, C-79287, is currently housed
at California Mens Colony. Plaintiff is developmentally
disabled. Defendants BPT and Nielsen failed to provide
reasonable modifications for his disability at life parole
consideration hearings.

2) Defendants

20. Gray Davis is the Governor of the State of California
and the Chief Executive of the state government. He is sued
herein in his official capacity. As Governor he is obligated
under state law to supervise the official conduct of all
executive and ministerial officers and to see that all offices
are filled and their duties lawfully performed. Defendant Davis
has control over the monies allocated to California Department of
Corrections by submitting a budget and by exercising his
authority to veto or sign legislation appropriating funds for

prison construction and renovation and prison and parole

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programs. Defendant Davis has the authority to appoint and
remove the subordinate defendants named herein. Defendant Davis
retains the ultimate state authority over the care and treatment
of the plaintiff class, and is responsible for ensuring that all
programs, activities and services operated by and under the
control of the California Department of Corrections comply with
Section 504 and the ADA.

'21.“Defendant Robert Presley is Secretary of the Youth and
Corrections Agency of the State of California and is sued herein
in this capacity. The Youth and Corrections Agency supervises
the operation of the California Department of Corrections.

.22.- Defendant Cal A. Terhune is the Director of the
California Department of Corrections and is sued herein in that
capacity. The Department of Corrections is responsible for the
operation of the California state prison and parole system,
including the construction of prison facilities and the provision
of accessible programs and activities to individuals with
disabilities.

23.“ Defendant Susanne Steinberg, M.D. is the Deputy
Director for Health Care Services for the California Department
of Corrections and is sued in that capacity. As Deputy Director,
Dr. Steinberg is responsible for supervising the development and
implementation of a system of individual assessment of a
prisoner’s disability, including his or her ability to perform
daily living tasks and job responsibilities.

24. “Defendant Judith McGillivray is Deputy Director of the
Planning and Construction Division for the California Department

of Corrections and is sued in that capacity. As Deputy Director,

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Ms. McGillivray is responsible for supervising the planning and
construction of new prisons and for renovations of existing
prisons. Ms. McGillivray failed to perform his responsibilities
under Section 504 and the ADA.

25. Defendant David Tristan is Deputy Director of the
Institutions Division for the California Department of
Corrections and is sued in that capacity. As Deputy Director,
Mr. Tristan is responsible for ensuring that all programs,
activities and services operated by and under the control of the
California Department of Corrections comply with Section 504 and
the ADA.

26.° Defendant Midge Carroll is Deputy Director of the
Parole and Community Services Division for the California
Department of Corrections and is sued in that capacity. As
Deputy Director, Ms Carroll is responsible for ensuring that all
programs, activities and services operated by and under the
control of the California Department of Corrections for parolees
comply with Section 504 and the ADA.

27° Defendant California Board of Prison Terms (BPT) is
responsible for conducting various types of hearings to determine
whether and under what conditions a prisoner or parolee should
remain or be released on parole, be incarcerated in a prison or
be involuntarily confined at a treatment facility after serving a
sentence of imprisonment.

28. Defendant James Nielsen is the Chairman of the BPT and
is sued in that capacity. As Chairman, Mr. Nielson is

responsible for the operations of the BPT and must ensure that

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all programs, activities and services operated by the BPT comply
with Section 504 and the ADA.
C. JURISDICTION

29. This court has jurisdiction under 28 U.S.C. sections
1331 and 1343. Plaintiffs seek declaratory and injunctive relief
under 28 U.S.C. sections 1343, 2201 and 2202, 29 U.S.C. section
794(a) and 42 U.S.C. sections, 1983, 12117(a).

D. VENUE

30. Venue is appropriate in this Court under 28 U.S.C.
section 1391(b), because a substantial part of the events or
omissions giving rise to plaintiffs’ claims occurred within the
Northern District of California.

E. CLASS ACTION ALLEGATIONS

31. Plaintiffs bring this action on their own behalf and,
pursuant to Rule 23(b) (1) and Rule 23(b) (2) of the Federal Rules
of Civil Procedure, on behalf of all prisoners and parolees with
mobility, sight, hearing, learning, kidney and developmental
disabilities, as defined in 29 U.S.C. section 706(8) (A) and 42
U.S.C. section 12102, who are now, or will in the future be,
under the custody of the California Department of Corrections.

(a) The exact size of the class is unknown to the
plaintiffs but they believe there are thousands of class members
and the size of the class is so numerous that joinder of all
members is impracticable;
(b) The conditions, practices and omissions that form

the basis of this complaint are common to all members of the

class and the relief sought will apply to all of them.

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(c) The claims of the plaintiffs are typical of the
claims of the entire class.

(d) The prosecution of separate actions by individual
members of the class would create a risk of inconsistent and
varying adjudications which would establish incompatible
Standards of conduct for the defendants.

(e) The prosecution of separate actions by individual
members of the class would create a risk of adjudications with
respect to individual members which would, as a practical matter,
substantially impair the ability of other members to protect
their interests.

(£) Defendants have acted or refused to act on grounds
generally applicable to the class, making appropriate injunctive
and declaratory relief with respect to the class as a whole, or
to particular subclasses.

(g) There are questions of law and fact common to the
members of the class including defendants’ violations of the
Americans with Disabilities Act, and Section 504 of the
Rehabilitation Act of 1973 because of denial of the benefit of
and discrimination in access to programs and activities for
individuals with disabilities.

(h) The named plaintiffs are capable, through counsel,
of fairly and adequately representing the class and protecting
its interests because they are individuals with disabilities who
suffer from, among other things, defendants’ violations of the
Americans with Disabilities Act, Section 504 of the
Rehabilitation Act of 1973 and the Due Process Clause, as set

forth in plaintiffs’ statement of Class Claims.

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F. STATEMENT OF CLASS CLAIMS

32. The California Department of Corrections and the Board
of Prison Terms receives federal financial assistance as that
term is used in 29 U.S.C. section 794(b) (1) (A).

33. The California Department of Corrections has spent
billions of public dollars since the 1960’s building new prisons
and renovating its existing facilities. Defendants built and
renovated almost every existing prison since state accessibility
laws were passed in the 1960’s and since federal accessibility
laws were passed in the 1970's. The Planning and Construction
Division of the California Department of Corrections is
responsible for the planning and construction of these
institutions.

34. Both Section 504 and the ADA require that all new
building and any renovation or remodeling comply with federal
accessibility standards. 29 U.S.C. section 794(a); 42 U.S.C.
sections 12132, 12133 and 12134(b); 28 C.F.R. sections 35.149,
35.151, 41.57(B) and 41.58(a). Defendants built and renovated
prisons that fail to comply with these standards found in the
Uniform Federal Accessibility Standards [hereinafter referred to
as "UFAS"]. 41 C.F.R. Pt.101-19.6. As a result of their failure
to comply with federal law, defendants have expended billions of
dollars to build facilities that must be renovated in order to
meet federal accessibility standards. 28 C.F.R. section 35.151
(a)-(c). This waste of public monies was both unnecessary and
unconscionable.

35. As a result of defendants’ unlawful failure to comply

with federal accessibility standards, plaintiffs have been

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delayed in their transfer to institutions that can accommodate
their disabilities and have been excluded from the educational,
vocational, work furlough and work credit, recreational,
visiting, classification, disciplinary and emergency programs and
services that defendants offer to individuals under their custody
and control.

36. Despite the clear mandate of Section 504 and the ADA,
defendants have failed to adequately evaluate the BPT’s current
services, policies and practices to determine the extent to which
modification of its services, policies and practices is required,
and have failed to develop policies and practices for
implementing such modifications. 29 U.S.C. section 794(a); 42
U.S.C. section 12134(b); 28 C.F.R. sections 35.105, 35.150(d),
41.5(b) (2), 41.57(c) and 42.505(c).

37. For those individuals with disabilities who have self-
identified, defendants have failed to make individualized
assessments of their ability to participate in work, educational,
vocational, and recreational programs and services offered by
defendants, and, as a result, have excluded individuals who were
otherwise qualified to participate in these programs by reason of
their disabilities and not their abilities in violation of
federal law. 29 U.S.C. section 794(a); 42 U.S.C. sections
12112(b) and 12132; 28 C.F.R. sections 35.130 (a)-(b) (8) and
41.51.

38. Defendants have failed to make reasonable
accommodations to individuals with disabilities in the programs,
activities, services, benefits, and jobs they offer to

individuals under their custody and control. 29 U.S.C. section

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794(a); 42 U.S.C. sections 12111(9) and 12132; 28 C.F.R. sections
35.150(b) (7) and 41.53.

39. Defendants continue to engage in a policy and practice
of violating federal accessibility requirements in the design and
construction of its current projects, including new and renovated
prison facilities in California. Defendants continue to engage
in a policy and practice of failing to develop adequate policies
and practices for providing the plaintiff class with reasonable
access to programs, activities and services available generally
to other individuals under their custody and control.

Defendants’ conduct constitutes an ongoing and continuous
violation of Section 504 and the ADA and, unless restrained from
doing so, defendants will continue to violate the law.

40. Defendants have failed to furnish appropriate auxiliary
aids and services where necessary to afford plaintiffs and
members of the plaintiff class the opportunity to participate in
the programs, activities, services, benefits, and jobs they offer
to individuals under their custody and control. 29 U.S.C.
section 794(a); 42 U.S.C. sections 12132 and 12134(b); 28 C.F.R.
sections 35.160-35.163. In addition to being denied access to
many of defendants’ programs, plaintiffs and members of the
plaintiff class have been endangered during emergencies in the
prison as a result of defendants’ failure to take appropriate
steps to ensure that communications with them are as effective as
communications with other prisoners. Id.

41. By denying plaintiffs and the plaintiff class with
meaningful access to programs and facilities that they are

otherwise qualified to participate in, and by denying plaintiffs

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and the plaintiff class the benefits of participation in programs
and activities that they are otherwise qualified to participate
in, and by failing to reasonably accommodate plaintiffs and the
plaintiff class, thereby subjecting them to discrimination,
defendants have violated Section 504 and the ADA.

42. Defendants BPT and Nielsen have failed to provide
reasonable modifications to policies, practices, and procedures
for disabled prisoners and parolees in Board of Prison Terms
hearing processes. Hearing processes include, but are not
limited to, notices and other documents received prior to the
hearing, the actual hearing, any hearing waiver offer, any
preparation by the prisoner or parolee for the hearing, any
conditions or recommendations made by the BPT at the hearing and
any appeal or grievance submitted regarding the hearing.
Defendant’s discriminatory actions include, but are not limited
to, a failure to ensure equally effective communication, a
failure to provide auxiliary aids and services, a failure to
ensure accessible hearing locations and a failure to provide
effective assistance at the hearings.

43. By repeatedly and persistently denying plaintiffs and
the plaintiff class with appropriate assistance prior to, during
and after the hearings, defendants BPT and Nielsen have violated
the Due Process Clause of the Fourteenth Amendment.

44. By repeatedly and persistently denying plaintiffs and
the plaintiff class with facilities that comply with federal
accessibility standards, defendants have violated Section 504 and

the ADA.

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G. PRAYER FOR RELIEF

WHEREFORE, plaintiffs pray that this Court:

A. Declare the suit is maintainable as a class action
pursuant to Federal Rule of Civil Procedure 23(b) (1) and
23 (b) (2);

B. Adjudge and declare that the conditions,
practices, and omissions described above are in violation of the
rights of the plaintiffs and the class they represent under
Section 504 of the Rehabilitation Act of 1973 and the Americans
with Disabilities Act of 1991.

Ci Preliminarily and permanently enjoin defendants,
their agents, employees and all persons acting in concert with
them, from subjecting plaintiffs and the class they represent to
the illegal conditions, practices and omissions described above;

D. Order defendants to end their practices of denying
individuals with disabilities the benefits of, excluding them
from participation in, and subjecting them to discrimination
under programs and activities provided by the California
Department of Corrections and the Board of Prison Terms;

E. Order defendants to reasonably accommodate the
special needs of individuals with disabilities;

EF. Order defendants to makes its existing and future
facilities in California readily accessible to and usable by
individuals with disabilities as required under Section 504 of
the Rehabilitation Act of 1973 and the Americans with
Disabilities Act of 1991 and the regulations promulgated

thereunder;

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G. Order defendants BPT and Nielsen to provide
adequate assistance to plaintiffs and the plaintiff class ina
manner consistent with the Due Process Clause of the Fourteenth
Amendment;

H. Award plaintiffs, pursuant to 29 U.S.C. section
794(b), 42 U.S.C. sections 1988 and 42 U.S.C. section 12205, the
costs of this suit and reasonable attorneys’ fees and litigation
expenses;

Ais Retain jurisdiction of this case until defendants
have fully complied with the orders of this Court, and there is a
reasonable assurance that defendants will continue to comply in
the future absent continuing jurisdiction; and

I. Award such other and further relief as the Court
deems just and proper.

Dated: January 7, 1999

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DONALD SPECTER

Attorneys for Plaintiffs

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DECLARATION OF SERVICE BY MAIL
Case Name: Armstrong v. Wilson No. C-94-2307-CW

I am employed in the County of Marin, California. I am over the
age of 18 years and not a party to the within entitled cause: my
business address is Prison Law Office, General Delivery, San
Quentin, California 94964.

On January 7, 1999 I served the attached
SECOND AMENDED COMPLAINT CLASS ACTION

in said cause, placing, or causing to be placed, a true copy
thereof, enclosed in a sealed envelope with postage thereon fully
prepaid in the United States Mail at San Rafael, California,
addressed as follows:

George Prince

Office of the Attorney General
50 Fremont Street, Suite 300
San Francisco, CA 94105-2239

I declare under penalty of perjury under the laws of the State of
California that the foregoing is true and correct, and that this
declaration was executed at San Rafael, California on January 7,
1999.

Schuy Velo
Edie DeGraff qe

 
